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 8                          United States District Court
 9                          Central District of California
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11   MICHAEL TERPIN,                                     Case No. 2:18-cv-06975-ODW (KSx)
12                         Plaintiff,
13          v.                                           ORDER GRANTING, IN PART, AND
14   AT&T MOBILITY, LLC; AND DOES                        DENYING IN PART, DEFENDANT’S
15   1-25                                                MOTION TO DISMISS [14]; AND
16                         Defendants.                   DENYING DEFENDANT’S MOTION
17                                                       TO STRIKE [15]
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19                                      I.     INTRODUCTION
20          Defendant AT&T Mobility LLC (“AT&T”) moves to dismiss Plaintiff Michael
21   Terpin’s (“Terpin”) Complaint.          (See generally Mot. to Dismiss (“MTD”), ECF
22   No. 14.) Additionally, AT&T moves to strike portions of Mr. Terpin’s Complaint.
23   (See generally Mot. to Strike (“MTS”), ECF No. 15.) For the reasons that follow, the
24   Court GRANTS, IN PART, AND DENIES, IN PART, Defendant’s Motion to
25   Dismiss (ECF No. 14), and DENIES Defendant’s Motion to Strike (ECF No. 15).1
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      After carefully considering the papers filed in connection with the motions, the Court deemed the
     matters appropriate for decision without oral argument. Fed. R. Civ. P. 78; C.D. Cal. L.R. 7-15.
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 1             II.      FACTUAL AND PROCEDURAL BACKGROUND
 2         Mr. Terpin is a prominent and well-known member of the cryptocurrency
 3   community. (Compl. ¶¶ 13–14, ECF No. 1.) He is domiciled in Puerto Rico with a
 4   residence in California. (Comp. ¶ 1.) On June 11, 2017, Mr. Terpin’s phone suddenly
 5   became inoperable because his cell phone number had been hacked. (Compl. ¶ 64.)
 6   After hackers attempted and failed eleven times to change Mr. Terpin’s AT&T
 7   password in AT&T stores, the hackers were able to change his password remotely.
 8   (Compl. ¶ 64.) Mr. Terpin alleges that this allowed the hackers to gain control of Mr.
 9   Terpin’s phone number, which allowed them to divert his personal information,
10   including telephone calls and text messages, to gain access to his accounts that use his
11   telephone number for authentication. (Compl. ¶¶ 64–65.) The hackers used Mr.
12   Terpin’s telephone number to access his cryptocurrency accounts and also
13   impersonated him by using his Skype account. (Compl. ¶ 65.) By impersonating Mr.
14   Terpin, the hackers convinced Mr. Terpin’s client to send them cryptocurrency and
15   diverted the cryptocurrency to themselves. (Compl. ¶ 65.) Later that day, AT&T was
16   able to cutoff the hackers’ access to Mr. Terpin’s telephone number. (Compl. ¶ 65.)
17   However, by this time, the hackers had stolen substantial funds from Mr. Terpin.
18   (Compl. ¶ 65.)
19         Around June 13, 2017, Mr. Terpin met with AT&T representatives in Puerto
20   Rico to discuss the hack. (Compl. ¶ 66.) AT&T allegedly promised to place Mr.
21   Terpin’s account “on a higher security level with special protection.” (Compl. ¶ 67
22   (internal quotation marks omitted).) This included requiring a six-digit passcode
23   (known only to Mr. Terpin and his wife) of anyone attempting to access or change Mr.
24   Terpin’s account or transfer his telephone number to another phone. (Compl. ¶ 67.)
25         On Sunday, January 7, 2018, Mr. Terpin’s phone again became inoperable.
26   (Compl. ¶ 72.) Mr. Terpin eventually learned that an employee at an AT&T store in
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 1   Norwich, Connecticut assisted an imposter with a SIM card swap.2 (Compl. ¶¶ 71–
 2   72.) This resulted in AT&T transferring Mr. Terpin’s phone number to an imposter.
 3   (Compl. ¶ 72.)       Mr. Terpin alleges that when his phone became inoperable, he
 4   attempted to contact AT&T to have his telephone number canceled, but AT&T failed
 5   to promptly to cancel his account. (Compl. ¶ 73.) By having access to Mr. Terpin’s
 6   phone number, Mr. Terpin alleges that “the hackers were able to intercept Mr. Terpin’s
 7   personal information, including telephone calls and text messages, and gain access to
 8   his cryptocurrency accounts.” (Compl. ¶ 76.) As a result, between January 7 and 8,
 9   2018, Mr. Terpin alleges that the imposter stole nearly $24 million worth of
10   cryptocurrency from him. (Compl. ¶ 72.)
11          On August 15, 2018, Mr. Terpin filed his Complaint against AT&T alleging
12   sixteen causes of action for: (1) declaratory relief that AT&T’s consumer agreement is
13   unconscionable and contrary to public policy; (2) unauthorized disclosure of customer
14   confidential proprietary information, 47 U.S.C. §§ 206, 222; (3) assisting unlawful
15   access to computer, California Penal Code section 502 et seq.; (4) violation of
16   California’s Unfair Competition Law (“UCL”) – unlawful business practice,
17   California Business and Professions Code section 17200 et seq.; (5) violation of
18   UCL – unfair business practice, California Business and Professions Code section
19   17200 et seq.; (6) violation of UCL – fraudulent business practice, California Business
20   and Professions Code section 17200 et seq.; (7) violation of California Consumer
21   Legal Remedies Act (“CLRA”), California Civil Code section 1750 et seq.; (8) deceit
22   by concealment, California Civil Code sections 1709, 1710; (9) misrepresentation;
23   (10) negligence; (11) negligent supervision and training; (12) negligent hiring;
24   (13) breach of contract – privacy policy; (14) breach of implied contracts (in the
25   alternative to breach of express contract); (15) breach of covenant of good faith and
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27     Mr. Terpin alleges that “SIM swapping consists of tricking a provider . . . into transferring the
     target’s phone number to a SIM card controlled by the criminal. Once they get the phone number,
28   fraudsters can leverage it to reset the victims’ passwords and break into their online accounts.”
     (Compl. ¶ 53.)



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 1   fair dealing; and (16) violation of California’s Customer Records Act – inadequate
 2   security, California Civil Code section 1798.81.5. (Compl. ¶¶ 80–241.)
 3         As part of his allegations, Mr. Terpin alleges that on April, 8, 2015, AT&T
 4   entered into a consent decree (“Consent Decree”) with the Federal Communications
 5   Commission (“FCC”) to implement detailed measures to protect against unauthorized
 6   disclosure of customers’ private information. (Compl. ¶¶ 4, 32.)
 7         AT&T moves to dismiss Mr. Terpin’s Complaint in its entirety and strike
 8   portions of the Complaint referencing the Consent Decree. (See generally MTD;
 9   MTS.) The Court will address each in turn.
10                           III.      MOTION TO DISMISS
11         A court may dismiss a complaint under Rule 12(b)(6) for lack of a cognizable
12   legal theory or insufficient facts pleaded to support an otherwise cognizable legal
13   theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). “To
14   survive a motion to dismiss . . . under Rule 12(b)(6), a complaint generally must
15   satisfy only the minimal notice pleading requirements of Rule 8(a)(2)”—a short and
16   plain statement of the claim. Porter v. Jones, 319 F.3d 483, 494 (9th Cir. 2003); see
17   also Fed. R. Civ. P. 8(a)(2). The “[f]actual allegations must be enough to raise a right
18   to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
19   (2007). The “complaint must contain sufficient factual matter, accepted as true, to
20   state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,
21   678 (2009) (internal quotation marks omitted). “A pleading that offers ‘labels and
22   conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not
23   do.’” Id. (citing Twombly, 550 U.S. at 555).
24         Whether a complaint satisfies the plausibility standard is a “context-specific
25   task that requires the reviewing court to draw on its judicial experience and common
26   sense.” Id. at 679. A court is generally limited to the pleadings and must construe all
27   “factual allegations set forth in the complaint . . . as true and . . . in the light most
28   favorable” to the plaintiff. Lee v. City of Los Angeles, 250 F.3d 668, 679 (9th Cir.




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 1   2001).   But a court need not blindly accept conclusory allegations, unwarranted
 2   deductions of fact, and unreasonable inferences. Sprewell v. Golden State Warriors,
 3   266 F.3d 979, 988 (9th Cir. 2001). Accusations of fraud require a plaintiff to plead
 4   with particularity the circumstances constituting fraud. See Fed. R. Civ. P. 9(b). Rule
 5   9(b) requires that the complaint identify the “who, what, when, where, and how” of
 6   the fraudulent activity, “as well as what is false or misleading about” it, and why it is
 7   false. United States ex rel. Cafasso v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047,
 8   1055 (9th Cir. 2011) (internal quotation marks omitted).
 9         Where a district court grants a motion to dismiss, it should generally provide
10   leave to amend unless it is clear the complaint could not be saved by any amendment.
11   See Fed. R. Civ. P. 15(a); Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d
12   1025, 1031 (9th Cir. 2008).
13   A.    Proximate Cause
14         AT&T moves to dismiss the Complaint in its entirety on the basis that Mr.
15   Terpin failed to sufficiently allege proximate cause for each of his claims. (MTD 4.)
16   Specifically, AT&T advances two arguments: (1) the independent, intervening
17   criminal acts of others, the hackers/imposter, destroy proximate cause; and (2) Mr.
18   Terpin failed to adequately allege how the flaws in AT&T’s security resulted in Mr.
19   Terpin’s funds being stolen. (MTD 4–6.)
20         Proximate cause “limits the defendant’s liability to those foreseeable
21   consequences that the defendant’s negligence was a substantial factor in producing.”
22   Mendoza v. City of Los Angeles, 66 Cal. App. 4th 1333, 1342 (1998). “Ordinarily,
23   proximate cause is a question fact . . . .” Kane v. Hartford Accident & Indem. Co., 98
24   Cal. App. 3d 350, 359 (1979). In California, “a criminal act will be deemed a
25   superseding cause unless it involves a particular and foreseeable hazard inflicted upon
26   a member of a foreseeable class.” Id. at 360. “[W]here an intervening act by a third
27   party was foreseeable, it does not amount to a superseding cause relieving the
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 1   negligent defendant of liability.” Ileto v. Glock Inc., 349 F.3d 1191, 1208 (9th Cir.
 2   2003).
 3         At this point, taking the Complaint as true, Mr. Terpin has sufficiently alleged
 4   that the criminal acts of a third party were reasonably foreseeable by AT&T. Mr.
 5   Terpin alleges that he informed AT&T in June 2017 that he was the victim of a SIM
 6   card swap and that AT&T placed his account on a higher security level with special
 7   protection. Thus, AT&T was put on actual notice that Mr. Terpin’s account was at
 8   risk. Despite this knowledge, Mr. Terpin was again the victim of a SIM card swap in
 9   January 2018, allegedly as a result of AT&T’s assistance. Accordingly, at this stage,
10   Mr. Terpin has sufficiently alleged that the criminal act was reasonably foreseeable
11   such that the claim should not be dismissed on this basis.
12         Separately, AT&T contends that Mr. Terpin has not sufficiently pleaded how the
13   SIM card swap resulted in Mr. Terpin losing $24 million. Mr. Terpin does not address
14   this issue in his Opposition. (See generally Opp’n to MTD, ECF No. 19.)
15         “It is a well established principle of [the common] law that in all cases of loss,
16   we are to attribute it to the proximate cause, and not to any remote cause.” Bank of
17   Am. Corp. v. Miami, 137 S. Ct. 1296, 1305 (2017) (alteration in original) (internal
18   quotation marks omitted). “Proximate cause is that cause which, in natural and
19   continuous sequence, unbroken by any efficient intervening cause, produced the injury
20   [or damage complained of] and without which such result would not have occurred.”
21   California v. Superior Court, 150 Cal. App. 3d 848, 857 (1984) (alteration in original)
22   (internal quotation marks omitted). The proximate cause requirement “bars suits for
23   alleged harm that is ‘too remote’ from the defendant’s unlawful conduct.” Lexmark
24   Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 133 (2014).
25         Mr. Terpin fails to sufficiently allege proximate cause. Mr. Terpin does not
26   connect how granting the hackers/fraudsters access to Mr. Terpin’s phone number
27   resulted in him losing $24 million. Based on the allegations of the Complaint, Mr.
28   Terpin asserts that AT&T assisted the hackers with a SIM card swap, thus granting the




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 1   hackers access to Mr. Terpin’s phone number. This allegedly resulted in Mr. Terpin
 2   losing $24 million in cryptocurrency. However, Mr. Terpin does not explain how the
 3   hackers accessed Mr. Terpin’s cryptocurrency account(s), whether they sold Mr.
 4   Terpin’s cryptocurrency then transferred the money, or whether they transferred the
 5   cryptocurrency to a cold wallet. At this stage, the Court is left to speculate how
 6   having access to Mr. Terpin’s phone number resulted in the theft of cryptocurrency.
 7         Mr. Terpin alleged in each of his sixteen claims (with the exception of the
 8   declaratory relief claim) that AT&T’s actions resulted in him losing $24 million worth
 9   in cryptocurrency. (See Compl. ¶¶ 109, 118, 130, 142, 153, 163, 175, 181, 189, 201,
10   213, 221, 227, 233, 239.) Thus, to the extent Mr. Terpin’s claims rely on the $24
11   million in damages, those claims are DISMISSED with leave to amend.
12   B.    Declaratory Relief
13         AT&T moves to dismiss Mr. Terpin’s claim for declaratory relief on the
14   grounds that the claim is not ripe.
15         The Declaratory Judgment Act provides jurisdiction “[i]n a case of actual
16   controversy . . . [to] any court of the United States . . . [so that it] may declare the
17   rights and other legal relations of any interested party seeking such declaration,
18   whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a). Declaratory
19   relief is not appropriate unless “there is a substantial controversy, between parties
20   having adverse legal interests, of sufficient immediacy and reality to warrant the
21   issuance of declaratory judgment. A case is ripe where the essential facts establishing
22   the right to declaratory relief have already occurred.” Boeing Co v. Cascade Corp.,
23   207 F.3d 1177, 1192 (9th Cir. 2000) (internal quotation marks omitted).
24         “A claim is not ripe for adjudication if it rests upon ‘contingent future events
25   that may not occur as anticipated, or indeed may not occur at all.’” Texas v. United
26   States, 523 U.S. 296, 300 (1998) (quoting Thomas v. Union Carbide Agric. Prods.
27   Co., 473 U.S. 568, 580–81 (1985)). Article III of the Constitution requires that there
28   exist a “case or controversy” and that the issues presented must be “definite and




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 1   concrete, not hypothetical or abstract” for them to be ripe for determination. Thomas
 2   v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1139 (9th Cir. 2000) (quoting Ry.
 3   Mail Ass’n v. Corsi, 326 U.S. 88, 93 (1945)). However, “a litigant need not await the
 4   consummation of threatened injury to obtain preventive relief.          If the injury is
 5   certainly impending, that is enough.” Addington v. U.S. Airline Pilots Ass’n, 606 F.3d
 6   1174, 1179 (9th Cir. 2010) (internal quotation marks omitted).
 7         Mr. Terpin’s claim for declaratory relief is ripe and sufficiently alleged. He
 8   seeks to declare AT&T’s wireless customer agreement as unconscionable, void
 9   against public policy, and unenforceable in its entirety. Mr. Terpin identifies several
10   provisions of the customer agreement with which he takes issue. Specifically, he
11   objects to the exculpatory provision that exempts AT&T from liability from its own
12   negligence, acts or omissions of a third party, or damages or injury caused by the use
13   of the device (Compl. ¶ 87); the damages restriction clause that exempts AT&T from
14   certain forms of damages (Compl. ¶ 90); the indemnity provision requiring customers
15   to indemnify AT&T for claims arising out of the services provided by AT&T (Compl.
16   ¶ 94); and the arbitration provision requiring Mr. Terpin to arbitrate his claims
17   (Compl. ¶ 97). Mr. Terpin alleges that as a result of these illegal contract provisions,
18   the entire customer agreement is unenforceable because the central purpose of the
19   agreement is tainted with illegality. (Compl. ¶ 96.)
20         There is substantial controversy between AT&T and Mr. Terpin, particularly
21   given the context of this lawsuit. AT&T and Mr. Terpin have adverse legal interests
22   of sufficient immediacy and reality to warrant a claim for declaratory judgment. The
23   terms of the wireless customer agreement are directly implicated by this lawsuit,
24   particularly the terms that Mr. Terpin has identified. The contract between Mr. Terpin
25   and AT&T, if enforceable, would potentially result in a denial Mr. Terpin’s claims
26   and/or damages, or at the very least, a transfer of his claims to arbitration. Taking the
27   allegations in the Complaint as true, Mr. Terpin has sufficiently alleged a claim for
28   declaratory relief. Accordingly, the Court finds that the claim for declaratory relief is




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 1   sufficiently ripe and alleged to survive a motion to dismiss.
 2   C.    Unauthorized Disclosure, 47 U.S.C. §§ 206, 222 (Claim 2)
 3         AT&T moves to dismiss Mr. Terpin’s second claim for unauthorized
 4   disclosure on the basis that Mr. Terpin failed to plead the claim sufficiently.
 5   (MTD 8.)
 6         47 U.S.C. § 222(a) provides that “[e]very telecommunications carrier has a
 7   duty to protect the confidentiality of proprietary information of, and relating to
 8   other telecommunication carriers, equipment manufacturers, and customers.” The
 9   statute does not define proprietary information; however, as AT&T recognizes, this
10   information includes “information that is extremely personal to customers . . . such
11   as to whom, where, and when a customer places a call, as well as the types of
12   service offerings to which the customer subscribes.” U.S. W., Inc. v. F.C.C., 182
13   F.3d 1224, 1235 (10th Cir. 1999) (alteration in original). 47 U.S.C. § 222 “was
14   principally intended to protect consumer’s privacy interests.” ICG Commc’ns, Inc.
15   v. Allegiance Telecom, 211 F.R.D. 610, 612 (N.D. Cal. 2002) (citing U.S. W., 182
16   F.3d at 1236).
17         The FCC has interpreted proprietary information as broadly encompassing
18   “all types of information that should not be exposed widely to the public, whether
19   that information is sensitive for economic or personal privacy reasons, and that this
20   includes privileged information, trade secrets, and personally identifiable
21   information.” In re Cox Commc’ns, 30 FCC Rcd. 12302, 12307 (2015) (footnotes
22   omitted); see also In re Terracom Inc. & Yourtel Am., Inc., 29 FCC Rcd. 13325, at
23   *6 (2014) (internal quotation marks omitted) (finding that personally identifiable
24   information can include “(1) any information that can be used to distinguish or
25   trace an individual’s identity, such as name, social security number, date and place
26   of birth, mother’s maiden name, or biometric records; and (2) any other
27   information that is linked or linkable to an individual, such as medical, educational,
28   financial, and employment information”).




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  1         Additionally, the statute defines customer proprietary network information
  2   as “information that relates to the quantity, technical configuration, type,
  3   destination, location, and amount of use of a telecommunications service
  4   subscribed to by any customer of a telecommunications carrier, and that is made
  5   available to the carrier by the customer solely by virtue of the carrier-customer
  6   relationship.” 47 U.S.C. § 222(h)(1)(A). 47 U.S.C. § 206 holds common carriers
  7   liable “for the full amount of damages sustained in consequence of any such
  8   violation of the provisions of this chapter, together with a reasonable counsel or
  9   attorney’s fee.”
 10         Mr. Terpin alleges that AT&T disclosed both customer proprietary network
 11   information and his customer proprietary information. (Compl. ¶ 115.) AT&T
 12   contends that Mr. Terpin failed to adequately allege that AT&T provided any third-
 13   party unauthorized access to any information covered by 47 U.S.C. § 222(a). In
 14   response, Mr. Terpin points to his allegation that AT&T divulged his telephone
 15   number, account information, and his private communications to hackers in the
 16   January 7, 2018 SIM card swap. (Compl. ¶ 108.) Mr. Terpin further alleges that
 17   “AT&T permitted hackers to access Mr. Terpin’s telephone number, telephone
 18   calls, text messages and account information to steal nearly $24,000,000 worth of
 19   his cryptocurrency.” (Compl. ¶ 108.) Although Mr. Terpin has not identified any
 20   information that falls within the definition of “customer proprietary network
 21   information,” Mr. Terpin has sufficiently alleged that AT&T permitted
 22   unauthorized access to his proprietary information, specifically his account
 23   information and private communications. AT&T argues that the hackers already
 24   had Mr. Terpin’s account information, which allowed the hackers to access his
 25   account in the first place. However, at this stage of the proceeding, the Court must
 26   accept the allegations in the Complaint as true, that AT&T divulged this
 27   information to the hackers in violation of § 222(a).
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  1             Accordingly, Mr. Terpin has sufficiently alleged his second claim for
  2   unauthorized disclosure.
  3   D.        Extraterritoriality of California Statutory Claims (Claims 3–7 and 16)
  4             AT&T moves to dismiss Mr. Terpin’s California statutory claims (claims 3–7
  5   and 16)3 on the basis that the California statutes do not apply extraterritorially.
  6   (MTD 11–12.)
  7             California law presumes that the legislature “did not intend the statutes of this
  8   state to have force or operation beyond the boundaries of the state.” Norwest Mortg.,
  9   Inc. v. Superior Court, 72 Cal. App. 4th 214, 222 (1999). Unless the legislature
 10   explicitly indicates otherwise, “if the liability-creating conduct occurs outside of
 11   California, California law generally should not govern that conduct.” Oman v. Delta
 12   Air Lines, Inc., 889 F.3d 1075, 1079 (9th Cir. 2018). This includes claims under the
 13   UCL and CLRA. See Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1207 (2011) (“[T]he
 14   presumption against extraterritoriality applies to the UCL in full force.”); McKinnon v.
 15   Dollar Thrifty Auto. Grp., No. 12-4457 SC, 2013 WL 791457, at *4 (N.D. Cal. Mar.
 16   4, 2013) (internal quotation marks omitted) (“With regard to the UCL and CLRA,
 17   non-California residents’ claims are not supported where none of the alleged
 18   misconduct or injuries occurred in California.”). A plaintiff’s residence alone is not
 19   sufficient to bring claims under the UCL or CLRA where the injuries occur outside of
 20   California. McKinnon, 2013 WL 791457, at *5.
 21             Mr. Terpin has not overcome the presumption against extraterritoriality. Mr.
 22   Terpin argues two points: (1) he owns a residence in California; and (2) his contract
 23   with AT&T is governed by California law.                      (Opp’n 12.)       Neither points are
 24   persuasive. As to Mr. Terpin’s first point, residence alone is not sufficient. See
 25   McKinnon, 2013 WL 791457, at *5. Moreover, Mr. Terpin does not even allege that
 26   he is a resident of California, just that he owns a residence in California. Mr. Terpin
 27   does not identify any legal authority that states owning property in a given state
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          The Court does not address the other issues that AT&T raises related to these claims.



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  1   results in the extraterritorial application of that state’s laws unrelated to the property.
  2   Mr. Terpin is domiciled in Puerto Rico and was in Puerto Rico at the time of the
  3   incidents. Further, Mr. Terpin does not allege that the hacks giving rise to this
  4   Complaint occurred in California. After the first hack, Mr. Terpin met with AT&T
  5   representatives in Puerto Rico. (Compl. ¶ 66.) Regarding the second hack, Mr.
  6   Terpin alleges that an employee of AT&T “in Norwich, Connecticut ported over Mr.
  7   Terpin’s wireless number to an imposter.” (Compl. ¶ 72.)
  8          Further, Mr. Terpin’s allegation that his contract with AT&T is governed by
  9   California law is also unpersuasive, notwithstanding that he seeks declaratory
 10   judgment that the contract is void in its entirety. Mr. Terpin’s Complaint does not
 11   allege that the contract is governed by California law, just that “Mr. Terpin obtained
 12   wireless services from AT&T in Los Angeles County in or about the mid-1990’s.”
 13   (Compl. ¶ 2.) However, Mr. Terpin then alleges that he “entered into a wireless
 14   contract with AT&T in or about 2011.” (Compl. ¶ 81.) Thus, the Complaint is
 15   unclear whether the contract at issue is one for wireless services that Mr. Terpin
 16   obtained in California in the mid-1990s, or the contract entered into in 2011 at an
 17   undisclosed location. As such, Mr. Terpin has not overcome the presumption against
 18   extraterritoriality.
 19          Because Mr. Terpin does not adequately allege that the liability-creating
 20   conduct occurred in California or establish how any of his California statutory claims
 21   apply extraterritorially, these claims fail. Accordingly, the Court GRANTS AT&T’s
 22   motion to dismiss claims three through seven and sixteen, with leave to amend.
 23   Although Mr. Terpin is given leave to amend, he should not replead these claims if he
 24   cannot cure these deficiencies.
 25   E.     Economic Loss Doctrine (Claims 8–12)
 26          AT&T contends that the economic loss rule bars Mr. Terpin’s tort claims
 27   because his tort claims are based on the same facts as his contract-based claims.
 28   (MTD 19.)




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  1           Generally, the economic loss rule “bars tort claims based on contract breaches.”
  2   UMG Recordings, Inc. v. Global Eagle Entm’t, 117 F. Supp. 3d 1092, 1103 (C.D. Cal.
  3   2015). In California, “[t]he economic loss rule requires a purchaser to recover in
  4   contract for purely economic loss due to disappointed expectations, unless he can
  5   demonstrate harm above and beyond a broken contractual promise.”               Robinson
  6   Helicopter Co., v. Dana Corp., 34 Cal. 4th 979, 988 (2004). Under the rule, a plaintiff
  7   may recover in tort only where she can allege personal injury or damage to property
  8   other than the product itself. Jimenez v. Superior Court, 29 Cal. 4th 473, 483 (2002).
  9           The California Supreme Court recognized an exception to the economic loss
 10   rule in J’Aire Corporation v. Gregory, wherein the rule does not prevent recovery in
 11   tort if a special relationship exists between the plaintiff and the defendant. 24 Cal. 3d
 12   799, 804 (1979). The exception applies to cases involving contracts for services
 13   “where the parties are in contractual privity”. N. Am. Chem. Co. v. Superior Court, 59
 14   Cal. App. 4th 764, 783 (1997); In re Yahoo! Inc. Customer Data Sec. Breach Litig.,
 15   313 F. Supp. 3d 1113, 1132 (N.D. Cal. 2018). The J’Aire exception is available if
 16   plaintiffs adequately plead a special relationship. In re Yahoo!, 313 F. Supp. 3d at
 17   1132.
 18           There is no dispute that the contract between AT&T and Mr. Terpin is one for
 19   services, not goods. However, AT&T argues that the J’Aire exception does not apply
 20   because Mr. Terpin has a contractual relationship with AT&T and is not a third party
 21   to the contract. Courts have rejected this argument. See N. Am. Chem, 59 Cal. App.
 22   4th at 783 (“Subsequent cases have extended the application of J’Aire to cases where
 23   the parties are in contractual privity.”); see also In re Yahoo!, 313 F. Supp. 3d at
 24   1131–32 (“Although Defendants argue that the “special relationship” exception never
 25   applies when the plaintiff and the defendant are in privity . . . this Court has
 26   previously rejected that argument.”). Further, as the contract here is for services,
 27   AT&T’s heavy reliance on cases involving goods, as opposed to services, is
 28   unpersuasive.




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  1            Accordingly, the issue is whether Mr. Terpin has sufficiently pleaded a special
  2   relationship between AT&T and himself. Courts examine six factors to determine
  3   whether a special relationship exists:
  4            (1) the extent to which the transaction was intended to affect the plaintiff,
  5            (2) the foreseeability of harm to the plaintiff, (3) the degree of certainty
               that the plaintiff suffered injury, (4) the closeness of the connection
  6
               between the defendant's conduct and the injury suffered, (5) the moral
  7            blame attached to the defendant's conduct and (6) the policy of
  8
               preventing future harm.

  9   J’Aire, 24 Cal. 3d at 804.
 10            Although the Court finds that the J’Aire exception is available in this case, Mr.
 11   Terpin has not sufficiently alleged that a special relationship exists. Specifically, as to
 12   the second and third J’Aire factors, Mr. Terpin has sufficiently alleged that it was
 13   foreseeable that Mr. Terpin would suffer injury if AT&T did not protect his personal
 14   information, and the parties agree that Mr. Terpin adequately alleged the degree of
 15   certain of his injury. (See Opp’n 20; Reply in Supp. of MTD (“MTD Reply”) 10, ECF
 16   No. 22.) However, as to the remaining J’Aire factors, Mr. Terpin has not adequately
 17   pleaded the extent to which the transaction was intended to benefit Mr. Terpin, the
 18   closeness of the connection between AT&T’s conduct and the injury suffered, the
 19   moral blame attached to AT&T’s conduct, or the policy of preventing future harm.
 20            Accordingly, the Court GRANTS AT&T’s motion to dismiss claims eight
 21   through twelve4 based on the economic loss rule with leave to amend.
 22   F.       Breach of Implied Contract (Claim 14)
 23            AT&T moves to dismiss Mr. Terpin’s claim for breach of implied contract on
 24   the basis that he failed to sufficiently plead that the parties entered into an agreement
 25   on specific terms and conditions. (MTD 20.)
 26            In California, the elements of a claim for breach of an express or implied
 27   contract are the same. Gomez v. Lincare, Inc., 173 Cal. App. 4th 508, 525 (2009). To
 28
      4
          Consequently, the Court does not address whether these claims are sufficiently pleaded.



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  1   state a claim for breach of an implied contract, a plaintiff must allege facts sufficient
  2   to establish: (1) the existence of a contract; (2) performance by the plaintiff or excuse
  3   for nonperformance; (3) breach by the defendant; and (4) damages. First Commercial
  4   Mortg. Co. v. Reece, 89 Cal. App. 4th 731, 745 (2001). In an implied contract, the
  5   existence and terms of the contract are manifested by the parties’ conduct. Cal. Civ.
  6   Code § 1621.
  7         Mr. Terpin alleges a breach of implied contract as an alternative to his breach of
  8   contract claim. (Compl. ¶ 225.) He alleges that AT&T breached the implied contracts
  9   “by failing to adhere to the terms of the applicable Privacy Policy and COBC [(code
 10   of business conduct)] . . . to maintain the confidentiality and security of the Personal
 11   Information of Mr. Terpin.” (Compl. ¶ 226.) However, Mr. Terpin fails to allege the
 12   parties’ conduct that form the basis of the implied contract.         He offers only a
 13   conclusory statement that “the opening of an AT&T wireless account by Mr. Terpin
 14   created implied contracts between AT&T and Mr. Terpin.” (Compl. ¶ 225.) This is
 15   not sufficient to state claim for breach of implied contract.
 16         Accordingly, Mr. Terpin’s claim for breach of implied contract is DISMISSED
 17   with leave to amend.
 18   G.    Breach of Implied Covenant of Good Faith and Fair Dealing (Claim 15)
 19         AT&T moves to dismiss Mr. Terpin’s claim for breach of the implied covenant
 20   of good faith and fair dealing for failing to sufficiently plead the claim. (MTD 21.)
 21         To state a claim for breach of an implied covenant of good faith and fair
 22   dealing, the specific contractual obligation from which the implied covenant arose
 23   must be alleged. Inter-Mark USA, Inc. v. Intuit, Inc., 2008 WL 552482, at *6 (N.D.
 24   Cal. Feb. 27, 2008). “A breach of the implied covenant of good faith and fair dealing
 25   involves something beyond breach of the contractual duty itself.” Careau & Co. v.
 26   Sec. Pac. Bus. Credit, Inc., 222 Cal. App. 3d 1371, 1394 (1990) (internal quotation
 27   marks omitted). The allegations must show “that the conduct of the defendant . . .
 28   demonstrates a failure or refusal to discharge contractual responsibilities . . . by a




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  1   conscious and deliberate act.” Id. at 1395. The covenant is implied by law in every
  2   contract and supplements the express contractual obligations “to prevent a contracting
  3   party from engaging in conduct which . . . frustrates the other party’s rights to the
  4   benefits of the contract.” Thrifty Payless, Inc. v. Americana at Brand, LLC, 218 Cal.
  5   App. 4th 1230, 1244 (2013) (internal quotation marks omitted).
  6          AT&T specifically argues that Mr. Terpin has not alleged facts beyond AT&T’s
  7   breach of the express contract. (MTD 21–22; MTD Reply 11.) As such, AT&T
  8   contends that Mr. Terpin has not alleged a separate claim for breach of the implied
  9   covenant of good faith and fair dealing. Mr. Terpin states that the “argument raises
 10   factual issues that cannot be determined on a motion to dismiss.” (Opp’n 21.) Mr.
 11   Terpin misses the point.        At this point, the Court is concerned only with the
 12   allegations in the Complaint, and the Complaint fails to sufficiently allege a claim for
 13   breach of the implied covenant of good faith and fair dealing. Mr. Terpin does not
 14   allege how AT&T failed or refused to discharge their contractual responsibilities
 15   through a conscious or deliberate act to frustrate their contractual agreement. The
 16   covenant of good faith and fair dealing “cannot impose substantive duties or limits on
 17   the contracting parties beyond those incorporated in the specific terms of their
 18   agreement.” Guz v. Bechtel Nat’l Inc., 24 Cal. 4th 317, 349–50 (2000). At most, Mr.
 19   Terpin alleges that AT&T failed to comply with its privacy policy and code of
 20   business conduct, but not that AT&T failed to act in good faith in doing so.
 21          Accordingly, Mr. Terpin’s claim for breach of implied covenant of good faith
 22   and fair dealing is DISMISSED with leave to amend.5
 23                             IV.        MOTION TO STRIKE
 24          AT&T moves to strike portions of Mr. Terpin’s Complaint that reference the
 25   Consent Decree as irrelevant, impertinent, and immaterial. (MTS 1, 5.)
 26
 27   5
        As the Court finds that the claims on which Mr. Terpin seeks punitive damages have not been
 28   sufficiently pleaded, Mr. Terpin’s request for punitive damages is also DISMISSED with leave to
      amend.



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  1         Federal Rule of Civil Procedure 12(f) provides that “[t]he court may strike from
  2   a pleading an insufficient defense or any redundant, immaterial, impertinent, or
  3   scandalous matter.” Fed. R. Civ. P. 12(f). The decision on whether to grant a motion
  4   to strike is made at the Court’s discretion. See Fantasy, Inc. v. Fogerty, 984 F.2d
  5   1524, 1528 (9th Cir. 1993), rev’d on other grounds in Fogerty v. Fantastic, Inc., 510
  6   U.S. 517 (1994)). In using its discretion, the court must view the pleadings in the
  7   light most favorable to the non-moving party. In re 2TheMart.com Sec. Litig., 114 F.
  8   Supp. 2d 955, 965 (C.D. Cal. 2000).
  9         Courts may grant a motion to strike “to avoid the expenditure of time and
 10   money that must arise from litigating spurious issues by dispensing with those issues
 11   prior to trial . . . .” Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir.
 12   2010) (quoting Fantasy, 984 F.2d at 1527). Courts may also grant such a motion in
 13   order to streamline the resolution of the action and focus the jury’s attention on the
 14   real issues in the case. See Fantasy, 984 F.2d at 1528. Yet, motions to strike are
 15   generally disfavored due to the limited role that pleadings play in federal practice, and
 16   because they are often used as a delay tactic. Cal. Dep’t of Toxic Substances Control
 17   v. Alco Pac., Inc., 217 F. Supp. 2d 1028, 1033 (C.D. Cal. 2002).
 18         AT&T argues that the SIM card swap is not covered by the protections of the
 19   Consent Decree, and thus references to the Consent Decree are irrelevant and highly
 20   prejudicial. (MTS 1, 7.) The question of whether Mr. Terpin’s allegations fall within
 21   the purview of the Consent Decree is not properly before the Court on a motion to
 22   strike. The issue is, in viewing the pleadings in the light most favorable to Mr.
 23   Terpin, whether the Consent Decree “could have no possible bearing on the subject
 24   matter of the litigation.” Color Me Mine Enters., Inc. v. S. States Mktg., Inc., 2012
 25   WL 12888693, at *1 (C.D. Cal. July 25, 2012). At this stage, the Court is not
 26   prepared to find that the Consent Decree has no possible bearing in this litigation. As
 27   Mr. Terpin points out, the Consent Decree is relevant to the issue of foreseeability.
 28   (Opp’n to MTS 6, ECF No. 18.) Specifically, Mr. Terpin alleges that the FCC




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  1   investigation discovered that AT&T’s “employees had been paid by criminals to hand
  2   over customers’ information, [AT&T’s] employees had used their login credentials to
  3   access confidential information, and [AT&T] had not properly supervised its
  4   employees’ access to its customers’ information.” (Opp’n to MTS 6 (internal citations
  5   omitted).) Thus, the FCC investigation and corresponding Consent Decree could be
  6   relevant on the issue of notice, that such actions were previously occurring, and that
  7   the acts perpetrated on Mr. Terpin were reasonably foreseeable.
  8         Accordingly, the Motion to Strike is DENIED.
  9                                  IV.   CONCLUSION
 10         For the foregoing reasons, the Court GRANTS IN PART, and DENIES IN
 11   PART, AT&T’s Motion to Dismiss (ECF No. 14) and DENIES AT&T’s Motion to
 12   Strike (ECF No. 15). Mr. Terpin may amend his Complaint to address the deficiencies
 13   identified above within twenty-one (21) days from the date of this Order.
 14
 15         IT IS SO ORDERED.
 16
 17         July 19, 2019
 18
 19                               ____________________________________
 20                                        OTIS D. WRIGHT, II
                                   UNITED STATES DISTRICT JUDGE
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